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   13                      UNITED STATES DISTRICT COURT

   14                    CENTRAL DISTRICT OF CALIFORNIA

   15                            LOS ANGELES DIVISION

   16 JOSEPH LACK,                             Case No. 2:18-CV-00617-RGK-GJS

   17                   Plaintiff,             DEFENDANT MIZUHO BANK
                                               LTD.’S OPPOSITION TO
   18              v.                          PLAINTIFF’S MOTION FOR CLASS
                                               CERTIFICATION
   19 MIZUHO BANK, LTD. and MARK
      KARPELES,                                Date:        April 15, 2019
   20                                          Time:        9:00 a.m.
                   Defendants.                 Courtroom:   Courtroom 850
   21                                          Judge:       Hon. R. Gary Klausner
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    1         Defendant Mizuho Bank, Ltd. (“Mizuho”) respectfully submits this
    2 memorandum of law and the accompanying Declaration of John F. Cove, Jr.
    3 (“Decl.”) in opposition to plaintiff Joseph Lack’s motion for class certification.
    4 Docket Entry (“DE”) 86.1
    5                            PRELIMINARY STATEMENT
    6         Fact and expert discovery in this case have nearly concluded, and the trial
    7 date is fast approaching. Yet Lack has failed to meet his burden to demonstrate
    8 “through evidentiary proof” that his proposed class meets the requirements of Rule
    9 23. Comcast Corp. v. Behrend, 569 U.S. 27, 33 (2013).
   10         First, Lack is unable to fairly and adequately protect the interests of other
   11 proposed class members. The unique facts surrounding Lack’s attempt at funding
   12 his Mt. Gox account just days after Mt. Gox announced a suspension of bitcoin
   13 withdrawals and days before Mt. Gox collapsed, as well as the recent rejection of his
   14 claim in Mt. Gox’s civil rehabilitation proceeding in Japan, distinguish his claim and
   15 defenses from those of other potential class members. The idiosyncratic facts of
   16 Lack’s claim mean he cannot satisfy adequacy and typicality under Rule 23(a).
   17         Second, Lack ignores the many individual issues that pervade his only claim
   18 against Mizuho—a claim for fraudulent concealment. Lack continues to rely on
   19 unsupported assertions that the district court in Illinois rejected in a related case and
   20 that are flatly contradicted by the undisputed evidence. On the facts presented here,
   21 materiality, knowledge, reliance, and causation cannot be established by classwide
   22 proof. Where factual issues bear on class certification, as they do here, the Court
   23 must “probe behind the pleadings,” conduct a “rigorous analysis,” and receive
   24 evidence “before coming to rest on the certification question.” Wal-Mart Stores,
   25 Inc. v. Dukes, 564 U.S. 338, 350 (2011). The Court must be satisfied that Lack has
   26 identified facts, not unsubstantiated allegations, to meet Rule 23’s requirements. Id.
   27   1
       Mizuho continues to contest the Court’s jurisdiction over it in this case. Nothing
   28 herein is intended to waive that position, which is expressly preserved for appeal.
        DEF. MIZUHO’S OPPOSITION TO    CASE NO. 2:18-CV-00617-RGK-GJS
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    1         Third, Lack fails to present a reliable classwide method to determine damages
    2 for all the members of the putative class tied to his theory of liability. Indeed, he
    3 has not even submitted an expert report showing how to do so.
    4         Finally, Lack ignores the fact that a pending Japanese proceeding akin to a
    5 reorganization in bankruptcy is likely to make other proposed class members whole
    6 because the post-bankruptcy rise in the value of the bitcoin has given the trustee the
    7 means to fully reimburse all approved claims of former Mt. Gox users. Class
    8 treatment is not a superior means of deciding the claims of either those putative
    9 class members who may recover fully, with interest, in the Japanese proceeding, or
   10 putative class members whose claims are denied due to individualized issues.
   11                                         FACTS2
   12         A.     Mt. Gox and Mizuho
   13         As of the spring of 2013, Mt. Gox and its U.S. subsidiary, Mutum Sigillum
   14 LLC, used various banks and payment processors, including Sumitomo Mitsui
   15 Bank, Wells Fargo, Dwolla, OKPAY, and Mizuho, to send funds to its customers in
   16 the U.S.3 In that period, both the Japanese Financial Services Agency and several
   17 banks began asking questions or raising concerns about money transfers involving
   18 Mt. Gox.4 In May 2013, the U.S. Department of Homeland Security (“DHS”)
   19
        2
   20     Lack’s “Factual Background” contains unsupported assertions based entirely on
        unreliable and inadmissible sources. See, e.g., Lawson Decl., Exs. 2 and 9. Because
   21   these exhibits contain self-serving hearsay from defendant Mark Karpeles, whom
        Lack alleges to be dishonest, the Court should disregard these exhibits when
   22   deciding this motion. See Charlebois v. Angels Baseball, LP, 2011 WL 2610122, at
   23   *8 (C.D. Cal. June 30 2011) (declining to certify a class on the basis of “unreliable,
        hearsay-based declarations”); Junod v. NWP Servs. Co., 2016 WL 6306030, at *3
   24   (C.D. Cal. July 18, 2016) (same).
        3
   25     Dwolla Account Seizure Warrant, Decl., Ex. 5 at 2-3; Withdrawals and Deposits,
        Mt. Gox Support, Decl., Ex. 6 at 6-7, 9; Williams Report, Decl., Ex. 7 at ¶ 32 n. 45,
   26   ¶¶ 51, 53.
        4
   27     See Imaizumi Deposition Tr., Decl., Ex. 8 at 46:16-55:12, 92:8-95:7; Mizuho Bank
        Ltd.’s Second Supplemental Responses to Plaintiffs’ First Set of Interrogatories,
   28   Decl., Ex. 9 at 10-11.
        DEF. MIZUHO’S OPPOSITION TO  2 CASE NO. 2:18-CV-00617-RGK-GJS
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    1 seized $5 million from Mutum Sigillum’s and Dwolla’s bank accounts because
    2 Mutum Sigillum and Dwolla were operating as unlicensed money service businesses
    3 in violation of U.S. law.5 DHS’s actions were widely publicized.6
    4         Based on communications with other banks and regulatory actions against Mt.
    5 Gox and its U.S. subsidiary, Mizuho determined that continuing to do business with
    6 Mt. Gox created risks for Mizuho and attempted to terminate its relationship with
    7 Mt. Gox by mutual agreement.7 When Mt. Gox refused, Mizuho determined that it
    8 did not have legal grounds to reject incoming wires into Mt. Gox’s account, but that
    9 it could and should stop sending outbound wires from Mt. Gox’s account.8 After
   10 meeting with Mt. Gox and giving it advance warning, Mizuho stopped sending U.S.
   11 dollar wire transfers from Mt. Gox’s account on June 21, 2013.9 Over the next
   12 several months, Mizuho repeatedly asked Mt. Gox to use other banks for customer
   13 deposits.10 Despite repeatedly assuring Mizuho that it had established new banking
   14 relationships for deposits and would instruct its customers to send deposits to its
   15 accounts at these banks, Mt. Gox did not follow through.11 Mizuho continued to
   16
        5
   17     See Dwolla Account Seizure Warrant, Decl., Ex. 5; “Feds Seize Another $2.1
        Million from Mt. Gox,” Decl., Ex. 10.
   18   6
          See “Feds Seize Another $2.1 Million from Mt. Gox,” Decl., Ex. 10; “Why are the
   19   feds seizing Mt. Gox and Dwolla funds?,” Decl., Ex. 11.
        7
          See Mizuho Transaction History Record Sheet, June 7, 2013, Decl., Ex. 12; see
   20   also Imaizumi Deposition Tr., Decl., Ex. 8 at 46:16-49:16, 85:25-86:10, 96:20-
   21   98:23, 143:14-23.
        8
          See Email re: Company M matter (Status Report), attaching June 21, 2013
   22   Progress Report, Decl., Ex. 13; Imaizumi Deposition Tr., Decl., Ex. 8 at 86:18-
   23   87:20.
        9
          See Imaizumi Deposition Tr., Decl., Ex. 8 at 99:4-11.
   24   10
           See Mizuho Bank Ltd.’s Second Supplemental Responses to Plaintiffs’ First Set
   25   of Interrogatories, Decl., Ex. 9 at 12; Mizuho Transaction History Record Sheet,
        June 28, 2013, Decl., Ex. 14; Mizuho Interview/work record, July 29, 2013, Decl.,
   26   Ex. 15; Mizuho Interview/work record, August 19, 2013, Decl., Ex. 16; Mizuho
   27   Meeting/Business Record, September 30, 2013, Decl., Ex. 17; Email re: Progress
        and future transition to other banks, October 31, 2013, Decl., Ex. 18.
   28   11
           Mizuho Bank Ltd.’s Second Supplemental Responses to Plaintiffs’ First Set of
        DEF. MIZUHO’S OPPOSITION TO                3 CASE NO. 2:18-CV-00617-RGK-GJS
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    1 receive inbound cash wire transfers designating Mt. Gox as the beneficiary until Mt.
    2 Gox’s collapse on February 24, 2014.12
    3        At the same time, Mt. Gox did use other banks to send U.S. dollar
    4 withdrawals to customers, and informed Mizuho that it was doing so.13 Within days
    5 after Mizuho discontinued sending wire transfers for Mt. Gox (i.e., by June 26,
    6 2013), Mt. Gox already sent U.S. dollars to its U.S. customers through another
    7 bank.14 From June 26, 2013 until Mt. Gox’s bankruptcy filing in February 2014,
    8 Mt. Gox processed 560 wires, sending at least $26.2 million in U.S. dollars to Mt.
    9 Gox users in the U.S. through another bank, Japan Post Bank, and its correspondent
   10 bank in the U.S., Deutsche Bank.15 Of that $26.2 million, $7.5 million went to
   11 nearly 90 California-based accounts.16 For context, during that same period, Mt.
   12 Gox users in the U.S. deposited only $7.7 million into Mt. Gox’s account at
   13 Mizuho.17 Thus, Lack’s central factual predicate for commonality—that “Mizuho
   14 was the only route for currencies into and out of Mt. Gox for Mt. Gox’s American
   15 customers” (Pl. Br. at 4)—is incorrect.
   16
   17 Interrogatories, Decl., Ex. 9 at 12; Mizuho Interview/work record, August 19, 2013,
      Decl., Ex. 16; Email re: Progress and future transition to other banks, October 31,
   18 2013, Decl., Ex. 18; Mizuho Case Name: Interview/Operational Records,
   19 November 20, 2013, Decl., Ex. 19.
      12
         Mizuho Transaction History Record Sheet, June 28, 2013, Decl., Ex. 14; Mizuho
   20 Bank Ltd.’s Second Supplemental Responses to Plaintiffs’ First Set of
   21 Interrogatories, Decl., Ex. 9 at 12; Mizuho Inbound U.S. Wires (MIZ_0002568),
      Decl., Ex. 20.
   22 13 Imaizumi Deposition Tr., Decl., Ex. 8 at 100:1-15; Japan Post Bank Outbound
   23 Wires (DB_0000001), Decl., Ex. 21; Mizuho Bank Ltd.’s Responses and Objections
      to Plaintiff Anthony Motto’s First Set of Interrogatories, Decl., Ex. 22 at 13-14;
   24 Mizuho Interview/work record, July 17, 2013, Decl., Ex. 23.
      14
   25    See Japan Post Bank Outbound Wires (DB_0000001), Decl., Ex. 21.
      15
         See id.; Williams Report, Decl., Ex. 7 at ¶ 47 & Ex. 6.
   26 16
         Strombom Report, Decl., Ex. 25 at ¶ 7.
   27 17
         See Mizuho Inbound U.S. Wires (MIZ_0002568), Decl., Ex. 20; Strombom
   28 Report,  Decl., Ex. 25 at ¶ 39.
      DEF. MIZUHO’S OPPOSITION TO                4 CASE NO. 2:18-CV-00617-RGK-GJS
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    1          Mt. Gox alone decided which withdrawal requests Mt. Gox would honor, how
    2 many withdrawal requests it would process each day, and how much money it
    3 would send to its U.S. customers. Mizuho was not involved in this process at all
    4 after June 20, 2013, and did not know when a Mt. Gox customer made a request, nor
    5 how or when Mt. Gox decided to honor that request.18 All Mizuho knew is that Mt.
    6 Gox was working with a new banking partner and wiring money to its customers.19
    7          Based on a review of records from Deutsche Bank, Mt. Gox’s responses to its
    8 customers’ withdrawal requests appear to have been erratic. On some days during
    9 the proposed class period, Mt. Gox honored as many as 19 requests; on others, it did
   10 not respond to any.20 Whether this was because Mt. Gox did not have the funds on
   11 those days, did not want to let go of the funds on those days, or was being selective
   12 about whom to pay is unknown. Mt. Gox’s approach caused delays, but it regularly
   13 updated its customers about those delays and offered expedited withdrawals for a
   14 five percent fee.21 Specifically, Mt. Gox made the following announcements on its
   15 website regarding delays and suspensions in processing withdrawals of both fiat
   16 currency and bitcoin:
   17  June 20, 2013: Mt. Gox suspends U.S. dollar withdrawals temporarily;22
   18  July 4, 2013: Mt. Gox resumes honoring U.S. dollar withdrawal requests, with a
   19        two-week backlog;23
   20
   21   18
           Imaizumi Deposition Tr., Decl. Ex. 8 at 90:7-16.
   22   19
           Imaizumi Deposition Tr., Decl., Ex. 8 at 89:10-90:4. In addition to Japan Post
   23   Bank, Mt. Gox had bank accounts at Rakuten Bank, Japan Net Bank, Yachiyo Bank,
        and Resona Bank. See Report to the Tokyo District Court, Decl., Ex. 26 at List of
   24   Assets, Item No. 1.
        20
   25      See Japan Post Bank Outbound Wires (DB_0000001), Decl., Ex. 21.
        21
           Compilation of email communications (Pearce01455-1459), Decl., Ex. 27 at
   26   Pearce001458.
        22
   27      Statement Regarding Temporary Hiatus on U.S. Dollar Withdrawals, Decl., Ex. 1.
        23
   28      Statement on Resumption of Withdrawals and Improved Banking, Decl., Ex. 2.
        DEF. MIZUHO’S OPPOSITION TO  5 CASE NO. 2:18-CV-00617-RGK-GJS
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    1  January 2014: Mt. Gox announces a “slight backlog” in processing international
    2        wire withdrawals and more than four-week delays depending on amount;24
    3  January 31, 2014: Mt. Gox discloses that bitcoin withdrawal delays are
    4        reportedly being experienced by some users;25
    5  February 4, 2014: Mt. Gox reports bitcoin withdrawal delays affecting a limited
    6        number of users, primarily with larger transactions;26 and
    7  February 7, 2014: Mt. Gox temporarily suspends all bitcoin withdrawals.27
    8           In addition, Mt. Gox routinely communicated by email directly with its
    9 customers, including Lack, about a host of issues, including issues related to
   10 deposits and withdrawals.28 Mt. Gox never discussed with or previewed for Mizuho
   11 any press release or customer communication that addressed withdrawals.29
   12           Mt. Gox users in the U.S. could also get their investments out of Mt. Gox by
   13 purchasing bitcoin and transferring it to (i) another exchange; (ii) the Mt. Gox user’s
   14 private wallet; (iii) a third party’s wallet in exchange for goods and/or services; or
   15 (iv) a third party such as BitPay, where bitcoin could be converted to fiat currency
   16 and used to purchase goods and services. Mt. Gox users could also transfer “trapped
   17 bitcoin” (i.e., bitcoin held at Mt. Gox after it suspended bitcoin withdrawals on
   18 February 7, 2014) to a third party called Bitcoin Builder, which bought “trapped
   19
        24
           MtGox – Bitcoin Exchange, Notes on International Withdrawals, Decl., Ex. 3.
   20   25
           Statement Regarding BTC Withdrawal Delays, January 31, 2014, Decl., Ex. 28.
   21   26
           Update – Statement Regarding BTC Withdrawal Delays, February 4, 2014, Decl.,
   22   Ex. 29.
        27
   23      Statement Regarding BTC Withdrawal Delays, February 7, 2014, Decl., Ex. 30.
        28
           See, e.g., Compilation of email communications (Lack 000029- 31), Decl., Ex. 4
   24   at Lack 000030-31.
        29
   25      See Imaizumi Deposition Tr., Decl., Ex. 8 at 158:5-10; Mizuho Interview/work
        record, August 19, 2013, Decl., Ex. 16; see also Lawson Decl., Ex. 2 at
   26   Edelson007122. Contrary to the characterization in his brief, the documents Lack
   27   cites in his brief show that Mt. Gox did not consult with Mizuho about
        communications with its customers regarding withdrawals and instead consulted
   28   with its lawyers at Baker & McKenzie. See Lawson Decl., Ex. 2 at Edelson007122.
        DEF. MIZUHO’S OPPOSITION TO  6 CASE NO. 2:18-CV-00617-RGK-GJS
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    1 bitcoin” at a discount.30
    2         B.    Plaintiff Joseph Lack
    3         Lack signed up for an account with Mt. Gox on December 7, 2013, after
    4 reviewing news releases and other materials on Mt. Gox’s website, but his account
    5 was not verified or approved by Mt. Gox until January 21, 2014 because Mt. Gox
    6 had a backlog of new account openings and a limited number of people to process
    7 new accounts.31 On January 22, 2014, Lack wired $40,000 from his Wells Fargo
    8 account to Mt. Gox’s account at Mizuho.32 Before doing so, he read news articles
    9 regarding Mt. Gox and regularly checked Mt. Gox’s website for developments and
   10 updates.33 Lack acknowledged that, as of January 17, 2014—before his deposit—
   11 Mt. Gox informed customers that it had a backlog processing withdrawal requests
   12 and international withdrawals could take up to four weeks or more.34
   13         After Lack wired the money to Mt. Gox, his funds did not show up in his Mt.
   14 Gox account, even though Mizuho credited the funds to Mt. Gox’s account on
   15 January 23, 2014.35 Lack admitted that Mizuho did everything it was required to do
   16 in connection with depositing his money into the Mt. Gox account.36 Lack
   17 communicated with Mt. Gox in February 2014 about his missing funds, but he did
   18 not believe Mt. Gox was being truthful and he threatened to go to law
   19
        30
   20      See Williams Report, Decl., Ex. 7 at ¶¶ 48-54; Strombom Report, Decl., Ex. 25 at
        ¶ 19.
   21   31
           Lack Deposition Tr., Decl., Ex. 31 at 95:14-19, 100:4-8, 100:15-19.
   22   32
           Compl. ¶ 46; Lack Deposition Tr., Decl., Ex. 31 at 104:23-25. Lack testified that
   23   Wells Fargo charged him a $45 fee to wire money to Mt. Gox, but he was not aware
        of any fee charged by Mizuho. Id. at 37:6-11, 166:24-167:15.
   24   33
           Lack Deposition Tr., Decl., Ex. 31 at 108:22-109:17.
        34
   25      Id. at 159:14-161:25, 164:10-166:22; MtGox – Bitcoin Exchange, Notes on
        International Withdrawals, Decl., Ex. 3.
   26   35
           Lack Deposition Tr., Decl., Ex. 31 at 12013-16; Mizuho Inbound U.S. Wires
   27   (MIZ_0002568), Decl., Ex. 20 at Row 5003.
        36
   28      Lack Deposition Tr., Decl., Ex. 31 at 138:25-139:24.
        DEF. MIZUHO’S OPPOSITION TO  7 CASE NO. 2:18-CV-00617-RGK-GJS
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    1 enforcement.37 During this time, Lack read about withdrawal difficulties by Mt.
    2 Gox’s customers.38 Lack testified that if the $40,000 had shown up his Mt. Gox
    3 account, he planned to buy bitcoin and leave it in his Mt. Gox account because he
    4 viewed bitcoin as a long-term investment.39 Lack testified that he was interested in
    5 the ability to move bitcoin to one’s personal wallet and from one platform to another
    6 at any time, and the ability make purchases with digital currency.40
    7         Lack initially tried to submit a claim in Mt. Gox’s bankruptcy,41 but he could
    8 not do so because his Mt. Gox account reflected a $0 balance.42 Lack called a
    9 consumer hotline for Mt. Gox users and “explained to them my unique situation,
   10 how I was different than most other individuals, my unique situation being that I had
   11 yet to see any funds credited to my account.”43 He then made a “verbal complaint”
   12 and was told it would be submitted to the Japanese bankruptcy court.44 After Mt.
   13 Gox’s Japanese bankruptcy was converted to a civil rehabilitation proceeding in
   14 June 2018, Lack filed a Proof of Rehabilitation Claim in October 2018 in the total
   15 amount of $50,362.73, including over $10,360 in “delay damages” from February
   16 26, 2014 when Mt. Gox stopped operating until June 21, 2018.45 On March 20,
   17 2019, Lack received notice from the Mt. Gox Rehabilitation Trustee that his claim
   18 was disapproved “on the ground that such amount does not exist.”46
   19   37
           Id. at 118:2-12; see also Compilation of email communications (Lack 000029-31),
   20   Decl., Ex. 4.
        38
           Lack Deposition Tr., Decl., Ex. 31 at 112:23-113:23.
   21   39
           Id. at 120:17-121:3, 123:19-23, 124:24-125:4, 125:20-25, 127:7-17.
   22   40
           Id. at 121:24-122:8, 169:25-170:2.
   23   41
           Id. at 145:21-23, 150:3-6.
        42
   24      Id. at 146:6-22.
        43
   25      Id. at 146:7-10.
        44
           Id. at 146:7-22.
   26   45
           Proof of Rehabilitation Claim (J.LACK_000005-20), Decl., Ex. 32.
   27   46
           Email from MtGox Bankruptcy Trustee to Joseph Lack (J.LACK_000022-25),
   28   Decl., Ex. 33.
        DEF. MIZUHO’S OPPOSITION TO  8 CASE NO. 2:18-CV-00617-RGK-GJS
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    1         C.    Procedural Background
    2         Before filing this action on January 24, 2018, Lack asserted his claims against
    3 Karpeles and Mizuho in March 2014 by joining an existing suit that his counsel,
    4 Edelson PC (“Edelson”), had filed on behalf of an Illinois resident in the U.S.
    5 District Court for the Northern District of Illinois (the “Illinois Action”). On
    6 December 11, 2017, following the completion of fact discovery, the Illinois court
    7 dismissed Lack’s (and Gregory Pearce’s) claims for lack of personal jurisdiction.
    8         Subsequently, the Illinois court denied named plaintiff Anthony Motto’s
    9 motion for class certification that, other than its nationwide scope, was virtually
   10 identical to the California class that Lack seeks to certify here. Greene v. Mizuho
   11 Bank, Ltd., 327 F.R.D. 190 (N.D. Ill. 2018). On facts similar to the facts pertaining
   12 to Lack, the Illinois court determined that Motto failed to meet the adequacy and
   13 typicality requirements of Rule 23(a) because he was subject to unique defenses not
   14 applicable to the class as a whole. Id. The Illinois court also found that, contrary to
   15 Motto’s allegation (parroted in Lack’s Complaint ¶ 23), Mizuho was not the
   16 exclusive bank through which Mt. Gox could receive its users’ deposits and satisfy
   17 their withdrawal requests. Rather, “Mt. Gox relied at different points in time on
   18 other financial institutions and payment processors, including Japan Post Bank,
   19 Dwolla, and OK Pay, to facilitate fiat currency deposits and withdrawals” and
   20 “[f]rom June 2013 until February 2014, when Mt. Gox ceased operations and
   21 declared bankruptcy, Mt. Gox account holders in the U.S. could withdraw fiat
   22 currency using other intermediaries.” Greene, 327 F.R.D. at 193.
   23         D.    The Japanese Rehabilitation Proceeding
   24         On June 22, 2018, Mt. Gox’s Japanese bankruptcy was converted to a new
   25 civil rehabilitation proceeding. As the parties jointly explained in their October 1,
   26 2018 Rule 26(f) Report, the Rehabilitation Trustee announced that the Mt. Gox
   27 estate would likely “have sufficient assets to pay in full the claims of Mt. Gox users
   28 who lost money or bitcoin when Mt. Gox collapsed, including Lack and potential
      DEF. MIZUHO’S OPPOSITION TO           9 CASE NO. 2:18-CV-00617-RGK-GJS
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    1 members of the putative class alleged here.” DE 66 at 1-2.
    2                                      ARGUMENT
    3         The party seeking class certification bears the burden of establishing
    4 conformity with the requirements of Rule 23, and must do so by producing facts
    5 “affirmatively demonstrat[ing]” that certification is warranted. Comcast, 569 U.S.
    6 at 33; Wal-Mart, 564 U.S. at 350. In addition to providing factual proof that the
    7 numerosity, commonality, typicality and adequacy requirements of Rule 23(a) are
    8 met, a party seeking to certify a damages class pursuant to Rule 23(b)(3), as Lack
    9 does here, must also show through “evidentiary proof” that “questions of law or fact
   10 common to class members predominate over any questions affecting only individual
   11 members” and that “a class action is superior to other available methods for fairly
   12 and efficiently adjudicating the controversy.” Comcast, 569 U.S. at 33; Fed. R. Civ.
   13 P. 23(b)(3). Here, certification is not appropriate because Lack has not proved and
   14 cannot prove that he satisfies the typicality and adequacy requirements of Rule
   15 23(a), or the predominance and superiority requirements of Rule 23(b)(3).
   16 I.      Lack Is Subject To Unique Defenses And Therefore Does Not Meet The
              Typicality Or Adequacy Requirements Of Rule 23(a)
   17
   18         Lack does not satisfy the adequacy and typicality requirements of Rule 23(a)
   19 because he is subject to unique defenses that threaten to become the focus of the
                 47
   20 litigation. “[C]lass certification should not be granted if ‘there is a danger that
   21 absent class members will suffer if their representative is preoccupied with defenses
   22 unique to it.’” Hanon v. Dataproducts Corp., 976 F.2d 497, 508 (9th Cir. 1992).
   23         Lack testified that he attempted to fund his new Mt. Gox account with a
   24 $40,000 deposit made on January 22, 2014, when delays and suspensions in both
   25 U.S. dollar and bitcoin withdrawals from Mt. Gox were well known and publicly
   26 disclosed by Mt. Gox on its website. See Lack Deposition Tr., Decl. Ex. 31 at
   27   47
        Lack’s unsupported assertion that Mizuho conceded that he is an appropriate class
   28 representative for similar claims (Pl. Br. at 13) has no factual basis.
      DEF. MIZUHO’S OPPOSITION TO 10 CASE NO. 2:18-CV-00617-RGK-GJS
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    1 104:23-25, 108:22-109:17, 159:14-161:25, 164:10-166:22. Lack also testified that
    2 if the $40,000 had been credited to his Mt. Gox account, he planned to buy bitcoin
    3 and leave it in his Mt. Gox account because he viewed bitcoin as a long-term
    4 investment. Id. at 120:17-121:3, 123:19-23, 124:24-125:4, 125:20-25, 127:7-17.
    5 This testimony—that Lack was aware of the delays and suspensions of U.S. dollar
    6 and bitcoin withdrawals when he made his deposit and had no intention of
    7 withdrawing fiat currency from Mt. Gox—will make it difficult, if not impossible,
    8 for Lack to prove that (1) the allegedly concealed fact that Mizuho stopped
    9 accepting fiat currency withdrawal requests from Mt. Gox was material to Lack’s
   10 decision to invest in Mt. Gox, (2) he would have acted differently if he had known
   11 that fact, and (3) he suffered injury caused by Mizuho.
   12         Based on, inter alia, analogous testimony by proposed class representative
   13 Motto in Illinois—that he had no intention of withdrawing fiat currency from Mt.
   14 Gox—the Illinois court denied class certification because Motto was differently
   15 situated than other class members. Greene, 327 F.R.D. at 195-96. The Illinois court
   16 concluded that “Motto’s testimony thus would allow Mizuho to present a defense
   17 applicable only to him, or at most to him and a small subset of other [ ]class
   18 members: that he was not injured by Mizuho’s decision to stop processing
   19 outbound wire transfers of fiat currency from Mt. Gox’s account because he did not
   20 rely on the presence of that functionality in deciding to purchase bitcoin on the Mt.
   21 Gox exchange.” Id. at 196. That conclusion applies equally to Lack. See Backus v.
   22 ConAgra Foods, Inc., 2016 WL 7406505, at *4 (N.D. Cal. Dec. 22, 2016) (where
   23 class representative was vulnerable to non-reliance defenses, it was “predictable that
   24 this litigation will focus on arguments and facts unique to him rather than generate
   25 common answers apt to drive resolution of the dispute on a classwide basis”).
   26         In addition to his knowledge of withdrawal delays and his intent to hold
   27 bitcoin, Lack’s specific problems with his Mt. Gox account create unique defenses
   28 regarding the elements of causation and damages. Lack himself described his
      DEF. MIZUHO’S OPPOSITION TO 11 CASE NO. 2:18-CV-00617-RGK-GJS
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    1 situation as “unique” and “different from most other individuals” because he “had
    2 yet to see any funds credited to [his] account” at the time Mt. Gox ceased
    3 operations, even though Mizuho deposited the funds into Mt. Gox’s account and did
    4 everything it was required to do in connection with the deposit. Lack Deposition
    5 Tr., Decl. Ex. 31 at 146:7-10; Mizuho Inbound U.S. Wires (MIZ_0002568), Decl.,
    6 Ex. 20 at Row 5003 (showing receipt of $40,000 into Mt. Gox’s account as of
    7 January 23, 2014). The timing and circumstances of Lack’s investment in Mt. Gox
    8 highlight “the unique and substantial vulnerability of [Lack’s] position in this case.”
    9 Backus, 2016 WL 7406505, at *4. Finally, the Rehabilitation Trustee’s disapproval
   10 of Lack’s claim because “such amount does not exist” underscores his dissimilarity
   11 from other proposed class members whose deposits were credited.
   12         Lack’s claim is not typical of the claims of other proposed class members,
   13 and Lack cannot fairly and adequately protect the interests of absent proposed class
   14 members as a class representative. Id. at *5 (proposed class representative’s unique
   15 defenses defeated both typicality and adequacy).
   16 II.     Certification Is Inappropriate Because Individual Issues Predominate
   17         The predominance requirement of Rule 23(b)(3) “is even more demanding”
   18 than the commonality requirement of Rule 23(a)(2). Comcast, 569 U.S. at 34.
   19 Where issues central to establishing liability are necessarily individual and fact-
   20 intensive, the predominance requirement is not satisfied. Arthur v. United Indus.
   21 Corp., 2018 WL 2276636, at *10 (C.D. Cal. May 17, 2018) (citing Vinole v.
   22 Countrywide Home Loans, Inc., 571 F.3d 935, 947 (9th Cir. 2009)).
   23         A.    Individual Questions Relating To Materiality, Knowledge,
                    Reliance, Misstatement, Reliance and Causation Predominate
   24
   25         Several critical elements of fraudulent concealment—including whether the
   26 allegedly concealed information was material to the class member, whether the class
   27 member knew that information before making his or her deposit, whether the class
   28 member would have changed his or her behavior if he or she knew the allegedly
      DEF. MIZUHO’S OPPOSITION TO 12 CASE NO. 2:18-CV-00617-RGK-GJS
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    1 concealed fact, whether the class member suffered any injury, and if so, whether that
    2 injury can be attributed to Mizuho’s alleged conduct—necessarily will require
    3 individual inquiry and result in different answers across different class members.
    4 Where, as with each of the foregoing questions, the members of a proposed class
    5 will need to present evidence that varies from member to member, the question is an
    6 individual question. Cole v. Gene by Gene, Ltd., 735 F. App’x 368 (9th Cir. 2018)
    7 (affirming denial of class certification where individual questions regarding
    8 disclosure, consent, and damages predominated); Davidson v. O’Reilly Auto Enters.,
    9 LLC, 2017 WL 8292782, at *5 (C.D. Cal. Dec. 15, 2017) (Klausner, J.) (denying
   10 class certification where common issues did not predominate).
   11         Materiality. To prevail against Mizuho, each potential class member must
   12 prove that the fact that Mizuho was no longer transmitting wire transfers for Mt.
   13 Gox was material to his or her decision to deposit funds with Mt. Gox even though
   14 (i) Mt. Gox was still honoring U.S. dollar withdrawal requests through Japan Post
   15 Bank, (ii) Mt. Gox (and news reports) had disclosed significant delays in fiat
   16 currency withdrawals, and (iii) Mt. Gox offered expedited fiat currency withdrawals
   17 for a fee. As a threshold matter, in light of Mt. Gox’s use of Japan Post Bank to
   18 send funds to U.S. customers and the public disclosures and media reports about
   19 delays, there is no evidence that any material information was withheld. But even if
   20 the non-disclosure of the change in the relationship were material to some Mt. Gox
   21 customers, the materiality inquiry is still an individual one because, as described in
   22 the expert report of Bruce Strombom, whether or not it was important to proposed
   23 class members to know that Mt. Gox was using Japan Post Bank instead of Mizuho
   24 to send funds to the U.S., would differ from one customer to another, depending on
   25 the customer’s individual circumstances, including, for example, how the customer
   26 planned to invest in Mt. Gox, what the customer planned to do with his or her
   27 bitcoin, and the importance, if any, of being able to withdraw fiat currency quickly
   28 (or at all). Strombom Report, Decl., Ex. 25 at ¶¶ 50, 56-58. While some proposed
      DEF. MIZUHO’S OPPOSITION TO 13 CASE NO. 2:18-CV-00617-RGK-GJS
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    1 class members might have deposited U.S. dollars intending to withdraw them later,
    2 others might have deposited funds with Mt. Gox intending to purchase bitcoin as a
    3 long-term investment (like Lack) or to transfer the bitcoin out of Mt. Gox (like
    4 Motto). Like Lack and Motto, customers who intended to convert cash to bitcoin
    5 and hold it or transfer it as bitcoin would not have cared whether Mt. Gox was using
    6 Mizuho or another bank to send U.S. dollar wires. See id. at ¶¶ 47, 56.48 The need
    7 for individual inquiries about whether the allegedly concealed information was
    8 material to each putative class member precludes certification. See Arthur, 2018
    9 WL 2276636, at *12; Mezzadri v. Med. Depot, Inc., 2016 WL 5107163, at *7 (S.D.
   10 Cal. May 12, 2016) (common issues did not predominate where expert evidence
   11 demonstrated “that materiality varies markedly between” different class members).
   12        Knowledge. Proposed class members must prove they were unaware of their
   13 purported inability to withdraw U.S. dollars from Mt. Gox and the identity of the
   14 bank or banks handling wire transfers for Mt. Gox. This, too, is an individual
   15 inquiry that will not yield uniform answers across the proposed class. Indeed, as
   16 described above, information about withdrawal delays at Mt. Gox was widely
   17 available to Mt. Gox users, including Lack, during the alleged class period. And, as
   18 Dr. Strombom notes, some Mt. Gox users had individual communications with Mt.
   19 Gox about those delays. See Strombom Report, Decl., Ex. 25 at ¶¶ 10, 35.
   20        The communications between Lack’s former co-plaintiff in Illinois, Gregory
   21 Pearce, and Mt. Gox are instructive. See Compilation of email communications
   22 (Pearce01455-1459), Decl., Ex. 27. On January 30, 2014, Pearce emailed Mt. Gox
   23 customer support regarding a funds withdrawal request he made the day before.
   24 After an exchange of emails, Mt. Gox responded that “international withdrawals are
   25   48
        Lack contends that “information about Mizuho’s decision to stop processing
   26 withdrawals from Mt. Gox’s account was material to the decision to invest in bitcoin
   27 on Mt. Gox” (Pl. Br. at 8), but the testimony he cites does not support that
      contention; it relates to how Lack was uniquely situated because his deposit did not
   28 show up in his Mt. Gox account (Lack Deposition Tr., Decl., Ex. 31 at 146:7-24).
      DEF. MIZUHO’S OPPOSITION TO 14 CASE NO. 2:18-CV-00617-RGK-GJS
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    1 currently delayed and may take [a] few weeks to get back to normal. Please be
    2 assured that the withdrawals will be based on the queuing system.” Id. at
    3 Pearce001458. In response, Pearce wrote, “[it] may be faster to use my money to
    4 repurchase bitcoins and then transfer them to another bitcoin wallet to sell for
    5 withdrawal.” Id. Mt. Gox responded that it did “not have an ETA of when the
    6 withdrawals will be processed,” but noted that Mt. Gox offered “a manual
    7 withdrawal processing method” for customers “who need funds sooner than the
    8 normal schedule . . . with 5% extra fee on the total withdrawal amount on each
    9 withdrawal.” Id. On February 11, 2014, Pearce asked Mt. Gox to cancel his
   10 withdrawal request and restore his $5,900 to his account because “I can then
   11 purchase bitcoin and then transfer them out.” Id. at Pearce001457. Mt. Gox
   12 canceled Pearce’s withdrawal request and credited the funds back to his account. Id.
   13 On February 21, 2014, Pearce asked about the ongoing suspensions of bitcoin
   14 withdrawals and noted that, after he transferred his bitcoin from Mt. Gox to the
   15 bitcoin exchange in the U.S. where he had an account (CampBX), he “can then get
   16 cash out from my American account rather quickly.” Id. at Pearce001456; Pearce
   17 Deposition Tr., Decl., Ex. 24, at 83:19-87:7. Mt. Gox went dark three days later.
   18        Although Pearce is not a member of the proposed class, his communications
   19 with Mt. Gox provide a window into what Mt. Gox told different customers about
   20 withdrawal delays, what Mt. Gox customers knew or could have known about
   21 delays, and what Mt. Gox customers knew or could have known about how to
   22 withdraw their funds from Mt. Gox, for example, by transferring bitcoin out of Mt.
   23 Gox or using Mt. Gox’s expedited service. Responses to each of these inquiries
   24 would vary by individual, and can only be established through individual inquiry.
   25        Misstatement or Omission. Even the alleged misstatement of omission at the
   26 heart of each class member’s claim differs. Though Lack argues this is a uniform
   27 omission case, Pearce’s experience shows that what Mt. Gox told its customers
   28 about withdrawal delays was far from uniform across all putative class members.
      DEF. MIZUHO’S OPPOSITION TO 15 CASE NO. 2:18-CV-00617-RGK-GJS
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    1 Determining what representations each putative class member was exposed to prior
    2 to depositing money with Mt. Gox and what conversations each one had with Mt.
    3 Gox, if any, “will require a highly individualized inquiry,” precluding a finding that
    4 common issues predominate. In re: First Am. Home Buyers Prot. Corp., 313 F.R.D.
    5 578, 606 (S.D. Cal. 2016), aff’d sub nom. Carrera v. First Am. Home Buyers Prot.
    6 Co., 702 F. App’x 614 (9th Cir. 2017).
    7         Reliance. Lack contends that reliance can be presumed for all putative class
    8 members because they were allegedly subject to concealment of the same
    9 information. Pl. Br. at 15. Lack is wrong both legally and factually. First, as a
   10 matter of substantive law, “California courts have always required plaintiffs in
   11 actions for deceit to plead and prove the common law element of actual reliance.”
   12 Mirkin v. Wasserman, 5 Cal. 4th 1082, 1092 (1993) (declining to adopt a general
   13 presumption of reliance in fraud cases under California law). As shown above,
   14 Lack himself cannot prove actual reliance in this case—i.e., that “had the omitted
   15 information been disclosed, [he] would have been aware of it and behaved
   16 differently.” Id. at 1093. And, contrary to Lack’s reading of Vasquez v. Superior
   17 Court, 4 Cal. 3d 800 (1971), and Occidental Land, Inc. v. Superior Court, 18 Cal.
   18 3d 355 (1976), “nothing in either case so much as hints that a plaintiff may plead a
   19 cause of action for deceit without alleging actual reliance.” Mirkin, 5 Cal. 4th at
   20 1095. As the California Supreme Court clarified in Mirkin, Vasquez and Occidental
   21 stand only for the proposition that “when the same material misrepresentations have
   22 actually been communicated to each member of a class, an inference of reliance
   23 arises as to the entire class.” Id. However, that does not excuse the proposed class
   24 representative from establishing his/her own actual reliance. See Jordan v. Paul
   25 Fin., LLC, 285 F.R.D. 435, 465-66 (N.D. Cal. 2012) (cited in Pl. Br. at 16).
   26         Second, for purposes of Rule 23(b)(3)’s predominance requirement, the Ninth
   27 Circuit has similarly made clear that classwide reliance cannot be presumed when
   28 the evidence is unclear that all class members were subject to the same misstatement
      DEF. MIZUHO’S OPPOSITION TO 16 CASE NO. 2:18-CV-00617-RGK-GJS
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    1 or omission. Mazza v. Am. Honda Motor Co., 666 F.3d 581, 595-96 (9th Cir. 2012);
    2 see also Mezzadri, 2016 WL 5107163, at *7-8. But, as shown above, each putative
    3 class member was aware of different facts about the delays and whether they relied
    4 on those facts (or omissions) cannot be determined on a classwide basis. Third,
    5 where, as here, “individual issues as to materiality predominate, the record will not
    6 permit [ ] an inference” of reliance as to the entire class. Webb v. Carter’s Inc., 272
    7 F.R.D. 489, 502 (C.D. Cal. 2011); Mezzadri, 2016 WL 5107163, at *8.49
    8         Causation. As Lack’s experience shows, the alleged losses of any proposed
    9 class member may not be attributable to Mizuho’s alleged omission. In Lack’s case,
   10 his alleged loss may have been caused by the fact that (i) through no fault of Mizuho
   11 his deposit was never credited to his Mt. Gox account; and (ii) Mt. Gox went dark
   12 on February 24, 2014 before he executed his plan to purchase bitcoin to hold as a
   13 long-term investment. For these reasons, Mr. Strombom has opined that Lack’s loss
   14 of the $40,000 he deposited by wire transfer to Mt. Gox’s account at Mizuho is not
   15 causally connected to any alleged wrongdoing by Mizuho. Strombom Report,
   16 Decl., Ex. 25 at ¶ 60. In addition, other proposed class members may have
   17 experienced some or all of the same, similar or other circumstances that would be
   18 relevant in determining whether their claimed losses were the result of any alleged
   19 wrongdoing by Mizuho. Id. at ¶¶ 57-59. For example, any proposed class
   20 member’s alleged losses could have been caused or affected by (i) Mt. Gox’s
   21 decision to send funds to some U.S. customers on some days and none on other
   22 days; (ii) Mt. Gox’s failure to allocate sufficient resources to processing customer
   23 withdrawal requests; (iii) the order in which Mt. Gox processed customers’
   24 withdrawal requests; (iv) the decision by some proposed class members to reject Mt.
   25   49
         The cases cited by Lack are not to the contrary. See, e.g., Jordan, 285 F.R.D. at
   26 465 (presumption of reliance only available if the alleged omission or misstatement
   27 was uniformly material to and uniformly received by all class members, but class
      representative must establish his/her own actual reliance); Mass. Mut. Life Ins. Co.
   28 v. Super. Ct., 97 Cal. App. 4th 1282, 1293-94 (4th Dist. 2002) (same).
      DEF. MIZUHO’S OPPOSITION TO 17 CASE NO. 2:18-CV-00617-RGK-GJS
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    1 Gox’s offer to expedite the withdrawal request for a fee; and (v) the date on which a
    2 proposed class member deposited funds and the proximity to when Mt. Gox
    3 collapsed. These circumstances can only be ferreted out by individual inquiry;
    4 therefore, causation cannot be proved on a classwide basis.
    5         B.     Individual Questions About Damages Predominate
    6         The proposed class also cannot be certified because Lack has not offered any
    7 classwide basis or method on which to calculate and award damages (if any)
    8 attributable to the alleged fraudulent concealment by Mizuho. Under Rule 23(b)(3),
    9 a district court must conduct a rigorous analysis to determine whether the plaintiff
   10 has introduced admissible evidence to show that the case is susceptible to awarding
   11 damages on a classwide basis. Comcast, 569 U.S. at 34; Doyle v. Chrysler Grp.,
   12 LLC, 663 F. App’x 576, 579 (9th Cir. 2016) (“In interpreting Comcast, we have
   13 stated, ‘[A] methodology for calculation of damages that [can]not produce a class-
   14 wide result [i]s not sufficient to support certification.’”) (citation omitted); Bruton v.
   15 Gerber Prods. Co., 2018 WL 1009257, at *8 (C.D. Cal. Feb. 13, 2018) (“Bruton
   16 must present a damages model that is ‘consistent with [her] liability case.’”).
   17         Lack’s failure to even offer a model or method for measuring damages
   18 attributable to Mizuho’s alleged fraud is not surprising, because he cannot show any
   19 common injury suffered across all members of his proposed class. The absence of
   20 any common injury is apparent from Lack’s proposed class definition—“all
   21 California residents who wired money to Mt. Gox KK’s bank account at Mizuho
   22 between June 20, 2013 and February 24, 2014”—which does not specify how any
   23 member of the proposed class was harmed in any particular way, much less in a
   24 common way. A customer’s deposit of money into Mt. Gox during the proposed
   25 class period does not mean that the customer suffered any harm. The customer
   26 might have deposited funds, submitted a withdrawal request, and then received the
   27 funds from Mt. Gox through Japan Post Bank. In fact, during the alleged class
   28 period, Mt. Gox fulfilled $7.5 million in withdrawal requests from a total of 88
      DEF. MIZUHO’S OPPOSITION TO 18 CASE NO. 2:18-CV-00617-RGK-GJS
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    1 California accounts in just that way. See Strombom Report, Decl., Ex. 25 at ¶ 7. In
    2 addition, Mt. Gox customers might have bought bitcoin and transferred it to (i)
    3 another exchange, (ii) the individual’s personal wallet, (iii) a third party’s wallet in
    4 exchange for goods or services, (iv) a third party where bitcoin could be converted
    5 to fiat currency and used to purchase goods or services, or (v) Bitcoin Builder, after
    6 Mt. Gox suspended bitcoin withdrawals on February 7, 2014. See Williams Report,
    7 Decl., Ex. 7 at ¶ 48; Strombom Report, Decl., Ex. 25 at ¶¶ 15-19. Individuals who
    8 used any of these methods to withdraw funds and/or bitcoin did not suffer harm, as
    9 Lack conceded. Lack Deposition Tr., Decl., Ex. 31 at 241:11-242:13.
   10         As in Comcast, a classwide measure of damages would not match Lack’s
   11 theory of liability against Mizuho, because, as explained above, the record shows
   12 that depositors could and did withdraw funds in both fiat currency and bitcoin from
   13 Mt. Gox after Mizuho stopped transmitting wire transfers, and that Lack and many
   14 other Mt. Gox customers knew, at least as of January 17, 2014, that Mt. Gox was
   15 experiencing multi-week delays in sending funds to its customers in the U.S. In
   16 other words, even under plaintiffs’ theory, many, if not all, proposed class members
   17 could not have been harmed by any alleged conduct by Mizuho. See Otto v. Abbot
   18 Labs., Inc., 2015 WL 12776591, at *2 (C.D. Cal. Jan. 28, 2015). Certification of
   19 Lack’s proposed class is thus inappropriate under Comcast.50
   20 III.    Class Treatment Is Not A Superior Means Of Adjudication
   21         Class treatment is not superior and class certification should be denied for
   22 three reasons. First, as Lack conceded in the parties’ Rule 26(f) Report, other
   23 members of the proposed class whose claims are approved by the Rehabilitation
   24 Trustee will likely recover in full any funds that they deposited and could not
   25 retrieve when Mt. Gox went bankrupt (plus “delay damages”) in the rehabilitation
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   27   The fatal flaw in this case is not the need for individual damages assessments, but
      rather that damages cannot be calculated on a classwide basis because Lack has not
   28 articulated a theory of liability supported by evidence of a common injury.
      DEF. MIZUHO’S OPPOSITION TO 19 CASE NO. 2:18-CV-00617-RGK-GJS
      MOTION FOR CLASS CERTIFICATION
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    1 proceeding. That proceeding is near completion, with claims already submitted and
    2 approved or disapproved.51 Where the proposed class members stand to recover in
    3 another pending proceeding, Rule 23(b)(3)’s superiority requirement is not met. See
    4 Zinser v. Accufix Research Inst., Inc., 253 F.3d 1180, 1191 (9th Cir. 2001).
    5         Second, if Lack’s alleged loss of $40,000 is indicative of class members’
    6 individual claims, the value at issue for each individual is not so insignificant as to
    7 prevent class members from pursuing claims individually. See Runyon v. Bostick
    8 Inc., 2017 WL 5988019, at *4 (C.D. Cal. Mar. 28, 2017) (Klausner, J.) (“Where, as
    9 here, each individual claim is allegedly worth at least $25,000, . . . putative class
   10 members have an important interest in bringing individual actions.”) (emphasis in
   11 original).
   12         Finally, a class action is not superior because of the difficulties in managing
   13 this case as a class action, none of which Lack has addressed. See Zinser, 253 F.3d
   14 at 1192. These include the many individual inquiries that will be required to prove
   15 the elements of each class member’s claim, and the potential difficulties in obtaining
   16 Mt. Gox records needed to identify individuals in California who deposited cash
   17 after June 20, 2013, which of those individuals actually held bitcoin or U.S. dollars
   18 at Mt. Gox at the end of the alleged class period (and did not transfer it out prior to
   19 the end of the class period), and how much was held by each such individual. Id.
   20         For all of these reasons, the proposed class fails to meet Rule 23(b)(3)’s
   21 superiority requirement and cannot be certified.
   22                                     CONCLUSION
   23         For the foregoing reasons, this Court should deny Lack’s motion.
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   27   See Notice of Submission of Statement of Approval or Disapproval on Exchange-
      Related Rehabilitation Claims (Mar. 19, 2019),
   28 https://www.mtgox.com/img/pdf/20190319_announcement_en.pdf.
      DEF. MIZUHO’S OPPOSITION TO 20 CASE NO. 2:18-CV-00617-RGK-GJS
      MOTION FOR CLASS CERTIFICATION
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    1                                      Respectfully submitted,
    2 DATED: March 25, 2019                SHEARMAN & STERLING LLP
    3
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        DEF. MIZUHO’S OPPOSITION TO 21 CASE NO. 2:18-CV-00617-RGK-GJS
        MOTION FOR CLASS CERTIFICATION
